         Case 1:19-cv-22281-BB Document 1 Entered on FLSD Docket 06/04/2019 Page 1 of 11

ProSe4 (Rev.12/16)ComplaintforaCivilCaseAllegingBreachofContract


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                                                          Southen DistrictofFlorida

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  SEYED M .M OGHANIasAssigneeOIDSTOCK &                                        CaseNo. l:19-CV-22281-BB
   FUND M ANAGERS OVERSEA S SOCIEDAD                                                   (tobeflledinbytheClerk'
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  ANON IM A,a CostaRican Cop oration'
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     OWner0fZOFRAGUA ,S.A .a Ecuadorian
                  Corporation,
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    THE REPU BLIC OF ECUADOR,Tl'IE PO RT
 AUTHORITY OF GUAYAQUIL,STO4.
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                             K & FUND
   M ANAGERS OVERSEA S,INC,A Panam anian
     Corporation,LEONIDA S EFRAIN PLAZA                                                      FILED BY                        D,C.
VERDUGA,CARLOS AROSEM ENA BAQUERIZO.
 LEON IDAS PLAZA DIAZ,SUPERW TEN DENCIA                                                            JLIN 2j 2215
    DE COM PAN IAS VALORES Y SEGUROS,
   VICTOR M AN UEL AN CHUNDIA PLAC'ES,                                                             ct
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     CARLOS XAVIER CADENA ASEN CIO,                                                                          ...A.-M IAM I
                 lndividually,
                      Defendantls)
(Writethefullnameofeachdefendantwhoisllel
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              CO M PLA INT FO R A CIVIL (MASE A!LEG IN G BRITACH O F CO NTR ACT
                                              (28 U.S-C.j 1332;Diversity ofCitizenship)

          The Partiesto ThisCom plaint
1.        A.       ThePlaintiffts)                                                                     22lïdEù'
                   Provide the information hlslovv'foi'eacilplailk
                                                                 tiffnam ed in thecomplaint. Attach additionalpagesif
                   needed.
                             N ame                                  SEYED M OGHANIas/kssigneee ofS&F M anagersOverseasSA
                             StreetAddress                          95l3 Sv/ l25 Terrace
                             City and County                        M iam ;Dade
                             Stateand Zip Code                      F2()2'ip:t.33l76

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  Case 1:19-cv-22281-BB Document 1 Entered on FLSD Docket 06/04/2019 Page 2 of 11



ProSe4(Rev.12/16)Complai
                       ntforaCivilCaseAllegilgBreachofContract
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                          E-m ailAddress                   mofpkaniQ icloud.com

        B.       TheDefendantls)
                 Providetheinformation below tbreak)h defendantnamedin thecomplaint,whetherthedefendantisan
                 individual,agovernmelttagency,an organization,oracorporatî,n.Foran individualdefendant,
                 includetheperson'
                                 sjobartitler!/knt
                                                 lwl
                                                   #.Attachauditictxalpagesit-needed.
                 DefendantNo.l
                        N am e                             TH E P-EPUBLIC OF EC UA D OR
                        Job orTitle(ifk.owrp               Embassà ofTheRepublit:ofEcuadorin theUnited States.
                        StreetAddress                     7535 15th StNW
                        Citv andCoum '                    Mlashinjdon
                        StateandZip Code                  DCLJ'
                                                              -
                                                                .
                                                                '
                                                                )009 -            .

                        TelephoneNumber                    202)234-7200
                        E-mailAddressöt-knownl

                 DefendantNo.2
                        N ame                             THE PORT A17THORIT'Y OF GUAYAQUIL
                        Job orTitle(itk'àywn?
                        StreetA ddress                    Avenida25deJulio.ViaPuertoM aritim o
                        City andCounf'z                   Guayaquil,
                        StateandZip Code                  E't'uadflr,Ecuador
                        TelephoneNumber                   59q .-4 201-2006
                        E-mailAddresslitknownl

                 DefendantNo.3
                        N am e                             STOCK Ar 1,LJND M /tNAGERS OVERSEAS.INC
                        Job orTitleli
                                    l'
                                     k.ownl
                        StreetAddress                      Garcia Moreno 9l3 & Asr
                                                                                 enida 9deOctubre
                        Cit.yandC ounl'/                   (.
                                                            ;uayaquil
                        StateandZip C'lde                  Guayas,L-cuador
                        TelephoneNumber                    (5934)232 2596-(5934)2322597
                        E-mailAddress(qlwfpwn?

                 D efendantN o.4
                          N am e                          LEON O AS ETPA IN Pi.,
                                                                               %ZA VERDU GA
                          Job orTitle(itkv,
                                          own)
                          StreetAddress                    f
                                                           anarc1aA
                                                                  .'soreno 9l3 & A îznida 9deOctubre
                          Citv andCount'tr                 f7
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ProSe4(Rev.12/16)ComplaintforaCivilCaseAllegingBreachofContract

                          StateandZip ç'
                                       .ade                Guavas,Ecuador
                          TelephoneNumber                  (5934)2322596-(5934)2322597
                          E-mailAddress(tfknown)

II.     BasisforJurisdiction

        Federalcourtsarecourtsoflimitedjttrisdiction(limitedpower).Under28U.S.C.j1332,federalcourtsmay
        hearcasesinwhich a citizen ofone Statesuesacitizen ofanotherStateornation andtheamountatstakeis
        m oreth% $75,000. In thatldnd ofcase,called adiversity ofcitizenshij)case,no defendantmaybe acitizen of
        thesameStateasanyplaintiff.Explainhow thesejurisdictionalrequirelnentshavebeenmet.

        A.       ThePlaintiffts)
                          Iftheplaintiffisan individual
                          Theplaintiff,(name) SEYED M OGIIANI                              ,isacitizen ofthe
                          Stateof(name) FLORIDA,UNl'fiè'D S'
                                                           FARES.                   .

                 2.       lftheplaintiffisacorporation
                          Theplaintiff,(nume)                                                   ,isincorporated
                          underthelawst)fthe Stateof(namcy                                                        ,
                          andhasitsprincipalplaceofbtlsiness1r'tbe State ofrnatv)



                 (Ifmorethanoneplainti f'f,
                                          j'nameciin#?,ccomplaint,attachtz/?tldditionalpageprovidingthe
                 sw-cinformationfortdtzc/?additionalplali
                 v                                      atiff)
        B.       TheDefendantts)
                          Ifthedefendantisan individual
                          Thedefendant, (  '
                                           hame)                                              ,isacitizen of
                          the Stateof(name)                                                .Orisacitizen of
                           (/ôrcfgnnationl

                          Ifthedefendantisacorporatitil,
                          Thedefendant, (name) Sovereiglk77IE REPUBLIC O17ECUADOR ,isincomoratedunder
                          the law softhe State of(nantaè TH f:R Z
                                                                -PTJBLIC OF Et-- 'UA DOR            ,andhasits
                          principalplace nfbusinessin the Stateof(numc'  ) THE .Q-EPUBLIC OF ECUADOR           .
                          Orisincom oraledtmderthe lawsofltvv.  -.,i
                                                                   gnnation)                                   ,
                          and hasitsprincipalplaceofbusineqsi1  4(nanie) TI-I-R '
                                                                                REPUBLIC OF ECUADOR            .




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Case 1:19-cv-22281-BB Document 1 Entered on FLSD Docket 06/04/2019 Page 4 of 11




 Ifthe defendantisa corporation
 The defendant,(name)        THE REPLIBLIC OF ECUADOR                 5isincorporated
                                                                      under
 the lawsofthe State of(name) ECUADO R                                ,and hasits
 principalplace ofbusinessin Embassy ofëhe Republic ofEcuador         .
 the State of(name)            2535 15th StNW
                               W ashington,D C
                               20009
 lfthe defendantis a corporatioll
 Thedefendant,(name)          THE PORT AUTHORITY        ,isincorporated under
                               Ol7GUAYAQUIL
 the law softhe State of(name) ECUADOR                        ,and hasits
 principalplace ofbusinessin Avenida25 deJulio,Via Puerto M aritim o
 the State of(name)             City and County                   Guayaquil,
                                State and Zip Code                Ecuador,Ecuador
 Orisincorporated underthe lawsof(foreign
 nation)
 and hasitsprincipalplace ofbusinessin         Avenida25 deJulio,V ia Puerto M aritim o
 (name)                                        City arld County                 Guayaquil,
                                               State and Zip Code               Ecuador,Ek
 lfthe defendantisa corporatiort
 The defendant,(name)          LEON IDAS PLAZA
                               V ERDUGA & LEON IDAS
                               PI,AZA DIAZ -L, 4W FIRM
                               PIwAZA V ERDUGA &
                               PLAZA S.A .
 thelawsofthe State of(name) ECUADOR
 principalplace ofbusinessin G arcia M oreno N 913 A ve 9 Ecuador,Ecuador
 the State of(name)             de O ctubre,Ecuadoi'
 Orisincorporated underthe laws47f(foreign
 nation)
 and has itsprincipalplace ofbusinessin
 (name)                         Ecuador

 lfthe defendantis a com oration
 Thedefendant,(name)           C NRLOS AROSEIWENA
                               BAQUERIZO
 the Iaw softhe State of(name) ECUADOR
 principalplace ofbusinessin Sam borondon B ttsiness           Ecuador,Ecuador
 the State of(name)             Business Center Terre C
                                (officeCenter)Piso 2
                               (Jficina 22,Parroquia La
                               Puntilla
                               Sam borondon,Ecuador
 Orisincom orated underthe lawsof(foreign
 nation)




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Case 1:19-cv-22281-BB Document 1 Entered on FLSD Docket 06/04/2019 Page 5 of 11




and hasitsprincipalplaceofbusiress in
(name)                       f.uador




lfthe defendantisa corporatiol'
Thedefendant,(name)         LIT,
                               ON IDAS PLAZA DIAZ

the law softhe State of(name) EI-'
                                 .UADOR
principalplace ofbusinessin (iarcia M oreno N .913 A ve 9   Ecliador,Ecuador
the Stateof(name)              ,
                               ..e O ctubre,Ecuador
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Orisincorporated underthe law sk'
                                -f(tbreign
nation)
and hasitsprincipalplace ofbusinessin
(name)                        Ecuador

lfthe defendantisa com oratiort
Thedefendant,(name)         LUON IDAS PLAZA DIAZ.
                             L.C.W FIRM PLAZA
                             Y tFRDUGA & PLAZA S.A.
the law softhe SGte of(name) Et.'UA DOR
principalplace ofbusinessin (larcia M oreno N ,913 Ave 9    E C'tador,Ecuador
the Stateof(name)               i
                                T.de Octilbrk), Tzcuadot'
Orisincorporated underthe lawscif(tbreign
nation)
and has itsprincipalplace ofbusinessin
(name)                        Ecuador



Ifthe defendantisa COP OratiOrt:SLJPERW TEN DEN CIA DE COiI'IPA N IA S,.
V A LO RES Y SEG URO S
Thedefendant,(name)         SI?PERINTENDEN CIA DE
                             CI3M PANIAS VA LORES Y
                             SI2
                               :,GUROF.
                             Represented by VICI'OR
                             M AN UEL ANCHI.  JNDIA
                             PLACES
the law softhe Sute of(name) E6O-UADOR
principalplace ofbusinessin   t''entro Financiero Puhlico   Equador,Ecuador
the Stateof(name)             9 de Octllbre 200 y
                              llichincha Piso 14
                              (iuayaqllii,Fctlador



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Orisincorporated underthe law s#)f(lbreign
nation)
and has itsprincipalplace ofbusiressin
(name)                         fcuador

lfthedefendantisacorporation:
Thedefendant,(name)         VICTOR M ANU EL
                            ANCHUN DIA PLACES
the lawsofthe Stateof(name) ECU ADOR
principalplace ofbuginegsin    (M
                                -entro Financiero Publico   Ectlador,Ecuador
the Stateof(name)              g de O ctubre 200 y
                               Pichincha Piso 14
                               (-
                                iuayaquil,Ecuador
Oris incorporated underthe laws()flfbreêgn
nation)
and hasitsprincipalplaceofbusiressi11
(name)                        f$'uador

lfthe defendantisa corporation:
The defendant,(name)        CARLOS IIAVIER
                            CADENA ASEN CIO
thelawsofthe Sute of(name) EI-'UADOI:
principalplace ofbusinessin G arcia Aviles217 )'9 de        Ecuador.Ecuador
the State of(name)           (lctubre, Edificio
                             Encaladas,Piso 2
                             Ofcina 201,
                              A liiba de Aim acenes la
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Orisincom orated underthe lawsof(jàrelgh
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(name)                        Ecuado'.




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                     aintforaCi
                              vilCaseAllegingBreachofcentract   .

        1)On September25,2008,TheAssignorZOFRAGIJA SAtownedbySé:FM anagersOverseasSA enteredinto
        atzagreementwiththePORT AW HORITY OF GuAYAQUIL toinvesttheamountof$12,000,000USD
        towardtheprojecttodeveloptheFREE ZONEFOR TI1E PORT OF GIJAYAQUIL project(whichhadinitially
        started on October3,2001butit
                                    ad experienced liquidity issues,with thisagreementthe ''investor''ZOFRAGUA
        SA through S&F M ANAGERS OVERSEAS S.A.wouldinvesttheabovementioned amountandthePort
        Authoritywouldgrantthelicensetooperatetheportforaperiodoftiftyyears(tobeexpiredonOctober3l,
        2051andproviding anetprofitto theinvestorintheamountof$400,001).000.00USD .Afterthe$12,000,000
        USD hadbeentenderedtoward theProject,andthenew governmentofPresidentRAFAEL CORREA took
        possession,theGovernmentofEcuadorunilaterally decidedtocanceltheproject.(SeeExhihitA-B).
        2)On April12,2012,theownm ofS&F M anagersOverseasS.A.,M r.FERNANDO ERNESTO M ARSH
        GAM E hired theservicesofthe lawyersI.EONIDAS EFRAIN PLAZA VERDUGA andLEONIDAS PLAZAA
        DIAZ,both from the1aw fl'rm ofPLAZA MERDUGA & PLAZA,S.A.torepresenttheinterestsofS&F
        M anagersOverseasS.A.anditssubsidiaryZOFR.VGUA S.A .againsttlleRepublicofEcuadorand thePORT
        ALJTHORITY OF GUAYAQUIL forbreachofcotïtractandtorecovertlleilwestmentmadeintheamountof
        12,000,000USD.(PleaseseeExhibit''C'')
        3)FERNANDO ERNESTO M ARSH GAM E,currrentlyresidesintheEtateofFlorida,UnitedStatesof
        A m erica and hehasbeenthe soteownerofthe sharesef'S& F M A NA GER S O VERSEAS S.A .w hich ow nsthe
        eightypercentofthesharesin ZOFRAGUA,S.A.               '.
        4)Intheyear2018,Mr.M arch whilelivingintheUnitedStates,learnetthathisattorneyLEONIDASEFRAIN
        PLAZA VERDUGA,appointed to representtheinterestsofS&F M ANAGERS OVERSEAS S.A.andits
        Subsidiary ZOFRAGUA SA,had created anew ''entity''with asimilarname:S&F FUND M ANAGERS
        OVERSEASINC (S&FMANAGERS OVERSEAS lNCregisteredinPAnamaandfully ownedbytheattorney
        PLAZA VERDUGA,withtheilltention to t5lethezlaim forreimburselnentofthefundsfrom THE REPUBLIC
        OF ECUADOR andthePORT ,
                              NIJTIIORIR''
                                         î'fIF GLTAYAQUIL.
        5)OnMay2,2019,M r.FERNANDO ERNZSTO MARSH GAM E assignedal1ofhisrightsinthecontract
        pertaining S&F M ANAGERS OVERSEAS S.
                                           A .and itssubsidiary ZOFRAGUA S.A.tothePlaintiffinthis
        actionM r.SEYED M .M OGHANI,a citizei
                                            ?ofthellnited States.(Please seeExhibit''
                                                                                    D '.
        6)Mr.SEYED M .MOGHANIastheAssigneeoftherights,isapartyillinterest,acitizenoftheStateof
        FloridaandtheDefendants,THE REPUBLIC OFECUADOR,7'l-IE PORT AUTHORITY OF GUAYAQUIL
        (ECUADOR),S&FM ANAGEITSOVERSEASINC,Alo LEONIDASEFRAIN PLAZAA VERDUGA areal1
        entitiesand individualofEcuador,theamountin coctroversy isabove$75,000USD.Therefore,thisHonorable
        courthasdiversityjmisdiction(,
                                     verthepartiesandthtcase.
        7)'1TIEREPUBLIC OFECUAI.IOR,THEPORTAUTHORITY OF GI    XI,NYAQULLunilaterallybreachedthe
        contractcàusing irreparableharm tothePlaintiff.
        8)Uponinformationandbelief,tlleGovenunelltofEcuadorhasallocatt;fundsintlleamountof4,800,000USD
        asacompensation forthebreacl)caused by theprzviollsgovermnent,k
                                                                      '
                                                                      m ttasofthetimeofthisaction,such
        fundsareready tobedisbursed zo theattorney LEON CDAS EFRAIN PI.'I.ZA VERDUGA andhis''SHAM ''
        COM PANY STOCK & FUND M ANAGERSOSJERSEASm t-
                                                   ''(S&F A'
                                                           fANAGERSOVERSEASlNCI.
                                                                                             gee M y tmoaulf4g .
        Thedefendantfailed to comply becallse r-
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                               /&frfW
        TheDefendantenteredinto an aéireemenlwith ZI.    )ITP-NGLJA Sy%
                                                                      ,..,andtl-rol lgh itsholding company STOCK
        A'ND F         MANAGERS OVFR SEAS S.A.receivtid the alnountt        at
                                                                            . f':
                                                                                $12,000,000 USD.Nevertheless,oncethe
        governmentchangetookplace,presidentR.
                                            .AF.&EL CM
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                                                         4EA 2
                                                             -ecidedt:)cancelledseveralprojectsincludingthe
        projecttodeveloptheFREE ZONE OF THE PORT 0i7GUAYAQUIL.
        Itisimportantto notethatthe cltrrentgovernmk'
                                                    ntaslnentioned abovehasinititateproceduresto compensatethe
        partieshanned bytheactsofthilpreviousgovelmrkkent.




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ADDITIONAL PAGE -(CON'CINUATION ()F S'fATEMENT ç',FCLAIM)
111.Statem entofClaim


9)Atal1times,DefendantsLEI-
                          'INIDAS EFRAIN PIAZA VERDIJGA asalawyerfor
ZOFRAGUA,S.A.owned by Plaintiff(STOCK .% FUND M ANAGERS OVERSEAS
SOCIEDAD ANONIM A),aCtlstaRican CoporationandPlaintiffinthisaction,LEONIDAS
PLAZA DIAZ alsoanattorneyforthisentity,CARLOSAROSEM ENA BAQUERIZO,
V ICTO R M AN U EL AN CH LJN DIA PLA CES A N D CARLO S XA V IER CAD EN A ASEN CIO
conspired to create a iûsim ilarelttity underthe Law sofPanam a nailled:ûûSTO CK & FUN D
M ANAGERSOVERSEAS,m C (A Papamanian Corporation)will)thesolepurposetoconfuse
the courtsofthe JudicialCircuitofEcuadorw here fundslzave beeznapproved asrestitution to be
paid tothePlaintiffltforZOFRAGUA S.A.STOCK & FIJND M AN AGERS OVERSEAS
SOCIED A D AN ON IM A ,a Costa Riean Corporation''
 10)Bycreatinganentity ûtwithan identicalname''butregisteredi1zadifferentJ
                                                                         'urisdiction,the
Defendantsherein,used theirposition and appointm entasAttorneysofthe Plaintiffand astç
Fiduciary agents''to claim and -eceive fundsforthe restitution setl
                                                                  lem ent
 11)UponinformationandbelieltheDefendantsbavealreadyrectrived thefundsfrom the
Ecuadorian courtin the am oum ofFO UR M lLI.,1ON SEV EN HlJp.DRED N IN ETY TH REE
TH OU SAN D SEV EN H UN D RED AN '  ,3 S;X TY N IN E D OLLAR S.Funds thatw ere allocated to
thePlaintiffZOFM GUA,inBANECUADOR S.A.(STOCK & IZUND M ANAGERS
OVERSEASSOCIEDAD ANONIM A),aCostaRican Corporation.CopyoftheJudicial
Paym entOrderis hereby attached asExhibitûûE''
 12)TheabovementionedfundEwerealreadydepositedinto theaccountoftheDefendant
 LEON ID A S EFR AIN PLA ZA VERD UG A w ith Receiptiium ber09-80-200-0158 on June 18,
 2019.See ExhibitfCE''




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                                 lCaseAllepingBreachofcontract
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                 sameinformationfort
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                                       )hadditioaaldqfendant)
        C.       TheAm oMntin Contl'dz
                                     versy

                 Theamountin controversy-thearpc,l
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                                                                                   .


                 stake-ismorethan $75,000,notcoltrtinginterestand costsoft'oul'
                                                                              t,because (expluinll
                 TheAM OUNT m COAITROVERSX ISFOUR I-RJNDRED M IL1wION DOLLARS($400,000,000.00
                 USD).


111.    Statem entofClaim

        W ritea shortandplain statemel'
                                      .t'oftheclaim .Donotmakelegalargtttf   cents. Stateasbriefly aspossiblethe
        factsshowingthateach plaintif:.1.sentitledtotllektalnagest
                                                                 7rotherrelietTougilt.Statehow each defendantwas
        involved andwhateach defendaxitdidthatcattsetlthe plaintiffharm orv ' -,
                                                                               lated theplaintiffsrights,including
        thedatesand placesofthatinvolvementorconduct. ifm orethan oneclrlim isasserted,numbereach claim and
        writea shortandplainstaternentofeach claim in ;isepal'ateparaggaph. qttach additionalpagesifneeded.

        Theplaintiff,(name) SEYE'D 'WOGIIANIitsytssiwiceofS& 7 ldaua/wlsOverseasSA                   ,and thedefendant.
        (nume) THEPORTAUTH ORII'fOF'GUAYAOUlL=oNot7Zcuador,ETz%
                                                              .i.                 ,rnadean aceementorcontracton
        (date)                      . Theltgreem entorcontractwas(oralorwrf//cho written         . Underthat
        aareementOrcontract,thepartit
                                    -rwerereqttiredto (
                                    7                 kvzcilà'J!'
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                                                                 '
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                                                        ntract
                                          *          Yu   j


        Theplaintiffhascompliedwiththeplaintiffsobligattonsundertheconzlact.

IV .    R elief

        Statebrieflyand precisely whatdamagesorotherrelieftheplpi mtiffaskhthe courtto order.Donotmakelegal
        argllments. lncludeanybasisfozclpixnir!qthattbewi'
                                                         opgsalleszetqarec,flntintlsr)g atthepresenttime.lnclude
        the am ountsofany actualdamagesclaimed forthe rtctsailegedand theilasisforthese amounts.lnclude any
        ptmitive orexemplary dam agesclaimed,theamounts,aiid (hereasonsy'tltlclaim you areentitled to actualor
        ptm itive m oney dam ages.
        l.ThePlaintiffhasbeen hannettby the actsand r
                                                    lctionsoftheDefendartsand requestsexpectation damagesin
        the amountof$400,000,000.00 USD .

        2.ThePlaintiffalsorequestsequityreliefasa!IlnillnctionOrdertodirecvthecourtofEcuador(Guayaquil)
        wherethe fundspayabletoS&F FU,   Nt)1
                                            :4A hl/kkvf.
                                                       fzits t.
                                                              )N'):t<c
                                                                     sE/ko >.,
                                                                             ?:qadbeen already authorizedby the
        GovernmentofEcuadorforpaymenlard arecurrently with thecotlrtre.glstr     y accotlnt.ThisInjtmctionOrderis
        neccesary tostop paymentto mnythirdentity includingbutnotlimitedt()the''sham''andunauthorized company
        S& F F      M AN A GER S OW IRSEA S m C,created by attorney LEOINCIDA S PLA ZA VERD U GA &
        LEONIDASPLAZA DIAZ botllattorneysat(lielil'u'      àtofI
                                                               'DLAZ/VNVKERE -IJGA & PLAZA inthecity of
        Guayaquil,entity asmentionedabove createdwiththesoleintention to collectthementionedftmdsthatbelong
        totheirclientS&F F      M AhFAGERS OVERSEAS S.A.and now theassignee andPlaintiffM r.SEYED
        M OGHANI

         3)AnOrderdirectingtheEMBztss-f t3FTII'
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                                                                         -LIADOR forthecancellationofthe
         UNITED STATESVISAS (B1/B2)glantt'dtoa  '),
                                                  --EtRNIDZ%SPLAZA Dh/X-' ,
                                                                          ItDUGA andii)LEONIDASPLAZA
         DIAZ fortheirgaudulentand crilninaz
                                           'actsagailistL'nitetlStarespersolts,illcluding thePlaintiffin thisaction,

V.       C ertilk ation and Closing

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         requirem entsofRule 1l.

         A.       ForPartiesW ithoutaxlAvlortley

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        B.       ForAttorneys

                 Dateofsia ina:

                 Sigm ture ofAttorney
                 PrintedNameofAttorney
                 BarNum ber
                 Name ofLaw Firm
                 StreetAddress
                 State and Zip Code
                 TelephoneNumber
                 E-mailAddress




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